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Attorneys for and Baker Hughes Oilfield
Operations, Inc. (as named and as successor by
merger to BJ Services U.S.A, LLC)

              IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF ALASKA

CHARLES CAMPBELL, KENNETH
BAKER, JENNIFER BAKER, S.P.
(MINOR), A. P. (MINOR), KIRK
MEDAK, CARLA GROSVOLD,
ERICK FREDERICKSON,
                                          NOTICE OF REMOVAL OF
                   Plaintiffs,
                                          ACTION PURSUANT TO 28 U.S.C.
vs.
                                          § 144l(b) BY DEFENDANT BAKER
                                          HUGHES OILFIELD
BJ SERVICES, USA, LLC., BAKER
                                          OPERA TIO NS, INC.
HUGHES OILFIELD OPERA TIO NS,
INC.                                      Case No. - - - - - -
              Defendants.



TO THE CLERK OF THE ABOVE-ENTITLED COURT:


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       PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1332, 1441, and

1446, Defendant Baker Hughes Oilfield Operations, Inc.) (as named and as

successor by merger to BJ Services U.S.A, LLC) (hereinafter, "Defendant") hereby

removes this action entitled Charles Campbell, et. al v. BJ Services US.A., LLC

and Baker Hughes Oilfield Operations, Inc .. currently pending in the Superior

Court of the State of Alaska, Third Judicial District at Anchorage, to the United

States District Court for the District of Alaska. This Court has original jurisdiction

under 28 U.S.C. §§ 1332 and 1441 et. seq.         Complete diversity of citizenship

exists between the relevant parties, and it is facially evident from the Complaint

that the amount in controversy exceeds $75,000, exclusive of interest and costs. In

support of this removal, Defendant further states:

       1.     This is a civil action filed on January 12, 2016, by Charles

Campbell, Kenneth Baker, Jennifer Baker, Shayne Pope (minor), Ashley Pope

(minor), Kirk Medak, Carla Grosvold, and Erick Frederickson ("Plaintiffs") in the

Superior Court of the State of Alaska, Third Judicial District at Anchorage, Case

Number 3AN-15-10766 CI, captioned Charles Campbell, et al. v. BJ Services

US.A., LLC and Baker Hughes Oilfield Operations, Inc. 3AN-15- 10766 CIV.

      2.     This primarily personal injury action arises out of injuries allegedly

sustained by Plaintiffs in connection with alleged disposal of cement type material

by Defendant. (Complaint,   iii! 7-8). Plaintiffs' Complaint asserts causes of action




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against Defendants for trespass, landowner liability/negligence, strict liability (AS

43.06.822), and nuisance. (Complaint, iii! 14-26).


I.       DEFENDANT   HAS    SATISFIED                                    THE           PROCEDURAL
         REQUIREMENTS FOR REMOVAL

         3.       Pursuant to 28 U.S.C. § 1446(a), Defendant attaches to this Notice of

Removal a copy of all process, pleadings, and orders served on Defendant in this

case. (See Exhibit "A," attached hereto.)

         4.       Plaintiff filed this action m the aforementioned state court on

November 12, 2015 and filed an amended complaint on January 12, 2016.

Defendant Baker Hughes Oilfield Operations, Inc. was served via CT Corporation

on January 19, 2016.              See Exhibit "A"; Declaration of Steven S. Tervooren

("Tervooren Declaration"), Paragraph ii 1, attached as Exhibit "B." Improperly

named defendant BJ Services U.S.A., LLC has not been served (and cannot be

served) because it no longer exists, having been merged into Baker Hughes

Oilfield Operations, Inc. almost five years ago                            See Plaintiffs' Amended
                                                 1
Complaint at Paragraph iii! 2, 4                  ;   Exhibit "B" -Declaration of Steven S.

Tervooren. The improperly named (non-existent) party is not required to join the

removal petition.          Nevertheless, Baker Hughes Oilfield Operations, Inc. both


I In Paragraph 2 of Plaintiffs' Amended Complaint, Plaintiffs make the following judicial admission: "BJ
Services Company U.S.A. LLC merged with Baker Hughes Oilfield Operations, Inc., on June 13, 2011.
Afterwards the surviving company was known as Baker Hughes Oilfield Operations, Inc." In Paragraph 4
of Plaintiffs' Amended Complaint, Plaintiffs make the following additional judicial admission: "Baker
Hughes Oilfield Operations, Inc. now owns and was operating the disposal facility at 54070 Lola Court,
Nikiski, Alaska at all relevant times referenced in this complaint and/or is responsible for any discharge of
hazardous waste by BJ Services Company U.S.A. LLC. due to the merger of those two companies.



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 removes this action and consents and joins in the removal m its capacity as

 successor by merger to BJ Services U.S.S., LLC.

          5.    This Notice of Removal is timely filed pursuant to 28 U.S.C.

 § l 446(b )(l), as it has been filed within thirty (30) days of receipt of a copy of the

initial pleading setting forth the claim for relief upon which such action or

proceeding is based.

          6.    Venue for this action is proper in this Court under 28 U.S.C. §

144l(a) because the Third Judicial District is located within the United States

District Court for the District of Alaska. (28 U.S.C. § 84(a)). Accordingly, the

United States District Court for the District of Alaska at Anchorage is the "district

and division embracing the place where such action is pending." 28 U.S.C. §

144 l(a).

          7.   Promptly following the filing of this Notice of Removal, written

notice of the removal of this action will be served on Plaintiffs' counsel, as

required by 28 U.S.C. § 1446 (d).

          8.   A true and correct copy of this Notice of Removal will also be

promptly filed with the Superior Court for the State of Alaska, Third Judicial

District at Anchorage, pursuant to 28 U.S.C. § 1446(d).

          9.   No previous application has been made for the relief requested

herein.


II.       REMOVAL IS PROPER BECAUSE THIS COURT HAS ORIGINAL
          JURISDICTION PURSUANT TO 28 U.S.C. § 1332(a)


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          A.       COMPLETE DIVERSITY OF CITIZENSHIP                              EXISTS
                   BETWEEN THE PROPERLY JOINED PARTIES

          10.      There is complete diversity of citizenship between Plaintiffs and all

properly joined defendants. 28 U.S.C. § 1332(a)(3).

          11.      At all times material hereto, Plaintiffs were residents of the State of

Alaska. (See Comp I. ii 1.)

          12.      Defendant Baker Hughes Oilfield Operations, Inc.is, and was at the

time of filing of this action, as alleged and admitted by Plaintiff, a corporation

incorporated under the laws of the State of California, with its principal place of

business in the State of Texas. (See Comp I. ii 3).

          D.       THE AMOUNT IN CONTROVERSY REQUIREMENT IS
                   SATISFIED

       23.         Plaintiffs allege that they each have suffered damages to their

respective real property (including devaluation) and personal injuries as a result of

alleged improper disposal of toxic material (Compl.         iii!   8, 11-13, 16-18, 21, and

23-24).         Plaintiffs assert claims for compensatory damages for past and future

expenses for medical care and monitoring; diminution in value of their real

property, past and future pain and suffering, and punitive damages if warranted."

(Compl.    ii 30). Plaintiffs assert such damages "in an amount to be proven at trial,
but in any case to exceed the jurisdictional requirements of this court." (Compl.        iJ
30). Plaintiffs filed their complaint in the Superior Court for the State of Alaska.

The Alaska Superior Court only has jurisdiction in such civil matters if the amount



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in controversy exceeds $100,000, such that Plaintiffs' filing in the Alaska Superior

Court constitutes a claim and judicial admission that the amount in controversy is

at least $100,000. See A.S. 22.10.020, 22. l 5.030(a)(2).

       It is apparent in the Complaint that Plaintiffs seek an amount in controversy

in excess of $75,000, exclusive of costs and interest. A removing defendant need

only show that the amount in controversy "more likely than not" exceeds the

jurisdictional minimum of $75,000. Sanchez v. Monumental Life Ins. Co., 102

F .3d 398, 404 (9th Cir. 1996). When the amount in controversy is not clearly

specified in the complaint, the court may consider facts in the complaint as well as

in the removal petition. See Simmons v. PCR Tech., 209 F.Supp.2d 1029, 1031

(N.D. Cal. 2002); Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373, 377 (9th

Cir. 1997); accord Roe v. Michelin N. Am., Inc., 613 F.3d 1058, 1063 (11th Cir.

2010) (stating that the Court "found no case in any other circuit that purports to

prohibit a district court from employing its judicial experience or common sense in

discerning whether the allegations in a complaint facially establish the

jurisdictionally required amount in controversy.").

       Although Defendant denies any liability to Plaintiffs, their allegations of

personal injury, health problems, and property devaluation plainly place more than

$75,000 in controversy. Their experienced Alaska counsel filed the action in

Alaska Superior Court knowing the $100,000 jurisdictional requirement to so file

in that court and expressly represented in the Complaint that an amount in excess

of said jurisdictional amount is sought.


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       26.     Based on the foregoing, the state court action may be removed to

this Court in accordance with the provisions of 28 U.S.C. §§ 1332 and 1441 et.

seq. because 1) this is a civil action pending within the jurisdiction of this Court;

2) this action is between citizens of different states; and 3) the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       WHEREFORE, Defendant Baker Hughes Oilfield Operations, Inc. hereby

removes the above-captioned action from the Superior Court for the State of

Alaska at Anchorage, to the United States District Court for the District of Alaska

at Anchorage. Defendant requests that this Court retain jurisdiction for all further

proceedings in this matter.

                                   HUGHES GORSKI SEEDORF
                                   ODSEN & TERVOOREN, LLC
                                   Attorneys for Baker Hughes Oilfield
                                   Operations, Inc. (as named and as and as
                                   Successor by merger to BJ Services
                                   U.S.A., LLC)



DA TED: February 5, 2016           By:
                                 . / ('•. Steven S. Tervooren
                                    0
                                 '(}     Alaska Bar No. 7910085




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CERTIFICATE OF SERVICE &
FONT

I hereby certify that on February 5,
2016, a true and correct copy of the
foregoing document, prepared in
Times Roman 13, was served )::i4~
electronically and by us.mail on:

Michael W. Flanigan, Esq.
Flanigan & Bataille
1007 West Third Avenue, Suite 206
Anchorage, AK 99501

m~;mz1.~~
Barbara M. Pauli




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